     Case 2:16-cv-11024-ILRL-MBN Document 113-1 Filed 09/01/17 Page 1 of 27



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF LOUISIANA

LATASHA COOK, ROBERT LEVI,
EBONY ROBERTS, ROZZIE SCOTT,
RICHARD BOLGIANO, BENNY
GRAHAM, JAMES LORIO, BRADLEY
MOSES, and MARISA PAM, on behalf of
themselves and those similarly situated,
                                                      Case No. 2:16-cv-11024-ILRL-MBN
        Plaintiffs,
                                                      Section “B”(5)
v.

ROBERT J. BLACK, in his individual and
official capacities, and BOGALUSA CITY
COURT,

       Defendants.



                        STIPULATED SETTLEMENT AGREEMENT

       This Stipulated Settlement Agreement (hereinafter “Agreement”) is made by and among

Judge Robert J. Black (“Black”) (“Defendant”) and Richard Bolgiano (“Bolgiano”), Benny

Graham (“Graham”), James Lorio (“Lorio”), Bradley Moses (“Moses”), and Marisa Pam

(“Pam”) (hereinafter collectively “Plaintiffs”) on behalf of themselves and each of their

respective heirs, successors, and assigns. Defendant and Plaintiffs are collectively, from time to

time, referred to hereinafter as the “Parties.”

       WHEREAS, Plaintiffs filed a Complaint on June 21, 2016, and an Amended Complaint

on January 17, 2017, in the United States District Court for the Eastern District of Louisiana,

commencing a proposed class action lawsuit entitled, Cook, et al, v. Bogalusa City Court, et al.,




                                                  1
      Case 2:16-cv-11024-ILRL-MBN Document 113-1 Filed 09/01/17 Page 2 of 27



Civil Action No. 2:16-cv-11024 (the “Lawsuit”) against Defendant,1 which seeks declaratory and

injunctive relief, as well as compensatory damages, and alleges violations of Plaintiffs’ rights to

due process and equal protection of the law under the Fourteenth Amendment to the U.S.

Constitution as a result of Defendant’s policies, practices, and customs;

          WHEREAS, Defendant expressly denies any liability, fault, wrongdoing, or

responsibility for any of the claims in the Lawsuit;

          WHEREAS, it is the desire of the Parties to resolve all disputes as between and among

them to settle the Lawsuit;

          WHEREAS, Plaintiffs agree to dismiss the Lawsuit against Defendant according to the

terms and conditions set forth in this Agreement; and

          WHEREAS, the dismissal of the Lawsuit will only become effective upon the Court’s

retention of its limited jurisdiction over the Lawsuit for two hundred seventy (270) days from the

date of the Court’s approval to enforce the terms of this Agreement;

          NOW, THEREFORE, in consideration of the promises and mutual covenants herein

contained, and other good and valuable consideration passing between the Parties, and intending

to be legally bound hereby, it is agreed:

A. COURT’S PROCEDURES

Defendant shall implement the procedures contained in the Bogalusa City Court Procedures for

Appointment of Counsel, Fines and Court Costs, and Community Service,2 and made part

hereof.




1
 Plaintiffs also sued the Bogalusa City Court in connection with the Fifth Claim for Relief pled in the Complaint
and First Amended Complaint but subsequently dismissed the Claim pursuant to a separate agreement, executed in
May 2017, to settle the Fifth Claim for Relief.
2
    Attached as Exhibit A.


                                                        2
  Case 2:16-cv-11024-ILRL-MBN Document 113-1 Filed 09/01/17 Page 3 of 27



B. DURATION OF AGREEMENT

  1. Defendant agrees to permanently follow the process for the collection of 1899 Court

     Costs and Contempt fines outlined in Paragraph 5 of Exhibit A.

  2. Defendant shall comply with the remaining terms of this Agreement for thirty (30)

     months.

  3. This Agreement is contingent upon the agreement of the United States District Court for

     the Eastern District of Louisiana to retain jurisdiction to enforce the provisions of this

     Agreement for a period of two hundred seventy (270) days. If the Court declines to

     retain jurisdiction, the Agreement will be void.

C. MONITORING AND SETTLEMENT COMPLIANCE

  1. Defendant shall notify Plaintiffs’ counsel by email by close of the next business day of

     any City Court defendant being placed in jail for nonpayment of a fine or costs or

     contempt for nonperformance of community service or any other alternative to payment.

     Said notification shall be provided to the Southern Poverty Law Center at the following

     email address: micah.west@splcenter.org. The notification will include the City Court

     defendant’s name, the date of the order jailing the defendant, and the indigency form. If

     specifically requested, minute entries will be provided once they are prepared. The

     responsibility for providing said notifications shall last for a total period of one-hundred-

     eighty (180) days. Said reporting period: (a) shall begin ninety (90) days after the Parties

     execute this Agreement and (b) shall end two-hundred-seventy (270) days from the date

     this Agreement is executed.

  2. Defendant shall provide Plaintiffs’ counsel with access to audio recordings and other

     court records pursuant to the Louisiana Public Records Act within 7 business days of




                                              3
    Case 2:16-cv-11024-ILRL-MBN Document 113-1 Filed 09/01/17 Page 4 of 27



       Plaintiffs’ request. Plaintiffs’ counsel will make arrangements to inspect and/or copy at

       the City Court any audio recordings and other court records not otherwise produced in

       accordance with the requirement of Section C.1 by calling the Bogalusa City Court Clerk.

    3. Defendant shall provide Plaintiffs’ counsel by email with a copy of the City Court’s

       Income Statements3 twice yearly on or about July 30 and December 31. Said notification

       shall be provided to the Southern Poverty Law Center at the following email address:

       micah.west@splcenter.org. The responsibility for providing these documents will end at

       the expiration of this Agreement, pursuant to Section B.2.

    4. Defendant shall provide Plaintiffs’ counsel the City Court’s budget proposals or amended

       budget requests to the City of Bogalusa within seven (7) days after they are submitted

       and the City of Bogalusa’s final budget or approval of any amended budget for the City

       Court within twenty-one (21) days after they are approved by the City. This obligation to

       notify is not limited to, but explicitly covers, any transfers from the City to the City Court

       from the special account maintained by the City of Bogalusa for costs collected pursuant

       to La. R.S. 13:1899.4 Said notification shall be provided to the Southern Poverty Law

       Center at the following email address: micah.west@splcenter.org. The responsibility for

       providing these documents will end at the expiration of this Agreement.




3
  The Income Statements refer to the City Court’s internal accounting of all revenue generated
for the City Court or disbursed to other agencies.
4
 Costs collected pursuant to La. R.S. 13:1899 and a portion of contempt fees were previously
deposited into the City Court’s judicial expense account. Pursuant to this Agreement, the City
Court will no longer assess or collect any court costs or any portion of contempt fees that are
deposited into an account controlled directly by the City Court.


                                                 4
  Case 2:16-cv-11024-ILRL-MBN Document 113-1 Filed 09/01/17 Page 5 of 27



D. WARRANT AMNESTY DAYS

  1. The City Court will designate at least one week within the six months following the

       execution of the Parties’ Settlement Agreement during which individuals with

       outstanding arrest warrants for their failure to comply with a subpoena, summons, or

       order to appear, can appear at the City Court to receive a new hearing date and the formal

       notice thereof, and clear any warrants related to their failure to appear rather than being

       arrested.

  2.   The amnesty days will be publicized through a press release provided to local media

       outlets at least seven (7), but not more than twenty-one (21), days before the scheduled

       amnesty days. The press release will be posted on the window and front door of the

       courthouse, as well as in front of the City Court’s Clerk’s office, and on the City Court

       website during the same timeframe. The press release mentioned herein will contain the

       following sentences: “No person who appears at the City Court for an Amnesty Day will

       be jailed for non-payment or for a warrant for failing to appear. The Court will provide

       you with a new court date and an opportunity to pay your fine and court costs. If you are

       not sure if you have a current warrant for failure to appear, you can call the clerk’s office

       at (985) 732-6204.”

  3. Counsel for Plaintiffs will be notified of the dates of the amnesty days, and a copy of the

       press release will be sent to counsel for Plaintiffs, at least one week before the start of the

       amnesty days.

E. DISSEMINATION OF PROCEDURES

  1. Within thirty (30) days of the approval of this Agreement by the United States District

       Court for the Eastern District of Louisiana, Defendant shall publish and disseminate this




                                                 5
  Case 2:16-cv-11024-ILRL-MBN Document 113-1 Filed 09/01/17 Page 6 of 27



     Agreement to all personnel involved in the imposition and/or collection of fines, court

     costs, or other fees imposed by the City Court, including City Court staff, City Court

     public defenders, State and City of Bogalusa prosecutors, City Court marshals, City of

     Bogalusa Police Department staff, and City of Bogalusa jail staff. This publication and

     dissemination shall include prominent placement of Exhibit A in the City Court and City

     of Bogalusa Jail, and on the City Court website.

F. ATTORNEYS’ FEES AND EXPENSES

  1. Each Party shall be responsible for his or her own attorneys’ fees and expenses in

     connection with the Lawsuit.

G. DISMISSAL OF LAWSUIT

  1. The Parties shall file with the Court within 10 days of the execution of this Agreement a

     Joint Motion to Approve Settlement, Retain Jurisdiction to Enforce Settlement

     Agreement, and Dismiss Pursuant to Rule 41(a)(1)(A)(ii), as agreed upon by the Parties

     and attached hereto as Exhibit B.

H. MUTUAL RELEASES

  1. By Plaintiffs: Except for any violations that arise from a breach of this Agreement,

     Plaintiffs, on their behalves and on behalf their successors, heirs, and assigns, hereby

     releases, remises, and forever discharges Defendant Black and his successors, heirs, and

     assigns, from all claims, suits, actions, charges, demands, judgments, costs and

     executions present and future, known or unknown, both legal and equitable in any

     manner arising out of the Lawsuit.

  2. By Defendant: Except for any violations that arise from a breach of this Agreement,

     Judge Black, on his behalf and on behalf his successors, heirs, and assigns, releases,




                                             6
  Case 2:16-cv-11024-ILRL-MBN Document 113-1 Filed 09/01/17 Page 7 of 27



     remises, and forever discharges Plaintiffs and their successors, heirs, and assigns from all

     claims, suits, actions, charges, demands, judgments, costs and executions present and

     future, known or unknown, both legal and equitable in any manner arising out of the

     Lawsuit.

I. MISCELLANEOUS

  1. This Agreement will be binding upon and will inure to the benefit of the signatories

     hereto and their heirs and assigns.

  2. No amendments of this Agreement will be valid unless made in writing and signed by all

     of the signatories hereto.

  3. This Agreement may be executed in duplicate counterparts, each of which will be

     deemed an original, with the same effect as if the signatures thereto were on the same

     instrument. Each signatory to the Agreement may execute this agreement by telefax or

     email of a scanned copy of the signature page, which shall have the same force and effect

     as if executed on an original copy.

  4. The Parties further agree to cooperate fully and to execute any and all supplementary

     documents and to take all additional actions that may be necessary or appropriate to give

     full force and effect to the basic terms and intent of this Agreement.

  5. The Parties represent and warrant that they are not relying on the advice of any other

     Party, or anyone associated with them, as to legal, tax (income, estate, gift, or otherwise),

     or other consequences of any kind arising out of this Agreement; that they have not relied

     on any representations or statements, written or oral, of any other Party, except insofar as

     those representations or statements are set forth in this Agreement; and that they are




                                              7
Case 2:16-cv-11024-ILRL-MBN Document 113-1 Filed 09/01/17 Page 8 of 27



   knowingly and voluntarily signing this Agreement and are not subject to duress, coercion,

   or undue influence by any other Party or by anyone else.

6. The Parties understand that they have the right to obtain legal counsel to review and

   evaluate this Agreement, and attest that they have done so or else have agreed to waive

   this right.

7. If, after the date hereof, any provision of this Agreement is held to be illegal, invalid, or

   unenforceable, the remaining provisions shall continue in full force and effect.

8. It is the intent of the signatories that no part of this Agreement is to be presumptively

   construed either against or in favor of any signatory because of the identity of the drafter.

9. Paragraph headings contained herein are for purposes of organization only and do not

   constitute a part of this Agreement.

10. Any communications or notices to be provided to legal counsel for the Parties pursuant to

   this Agreement will be sent in writing via email or addressed, via commercial overnight

   delivery service, to the attention of the persons identified below (or as the signatories

   may subsequently direct in writing):

                   Plaintiffs’ Counsel:

                          –Micah West
                          ATTN: Cook v. Bogalusa
                          Southern Poverty Law Center
                          400 Washington Avenue
                          Montgomery, AL 36104
                          Telephone:   (334) 956-8200
                          Fax:         (334) 956-8481
                          Email: micah.west@splcenter.org

                   Defendant’s Counsel:

                          E.B. Dittmer, II, Esq.
                          Talley Anthony Hughes & Knight, L.L.C.


                                             8
Case 2:16-cv-11024-ILRL-MBN Document 113-1 Filed 09/01/17 Page 9 of 27



                        2250 7th Street
                        Mandeville, LA 70471
                        Telephone:     (985) 624-5010
                        Fax:           (985) 624-5306
                        Email: ted.dittmer@talleyanthony.com

11. This Agreement, including the referenced attachments and exhibits to the Agreement,

   constitutes the entire agreement and understanding between and among the signatories

   with respect to the subject matter hereof and supersedes all other prior or

   contemporaneous oral agreements, understandings, undertakings and negotiations of the

   Parties.


                         SIGNATURE PAGE FOLLOWS




                                         9
Case 2:16-cv-11024-ILRL-MBN Document 113-1 Filed 09/01/17 Page 10 of 27
Case 2:16-cv-11024-ILRL-MBN Document 113-1 Filed 09/01/17 Page 11 of 27
  Case 2:16-cv-11024-ILRL-MBN Document 113-1 Filed 09/01/17 Page 12 of 27
CONFIDENTIAL SETTLEMENT COMMUNICATION

IN WITNESS WHEREOF, the Parties have caused this Agreement to be executed by their own
signature or by their duly authorized representatives.

RICHARD BOLGIANO                                 JAMES LORIO

_______________________                          _______________________

Date ___________________                         Date ___________________

BRADLEY MOSES                                    MARISA PAM

_______________________                          _______________________

Date ___________________                         Date ___________________

BENNY GRAHAM                                     ROBERT J. BLACK

_______________________                          _______________________

Date ___________________                         Date ___________________

SAMUEL BROOKE, counsel for Plaintiffs            E B DITTMER, counsel for Defendant
                                                 Black

_______________________                          _______________________

Date ___________________                         Date ___________________




Exhibits and Forms attached to and made a part of this Agreement

Exhibit “A”: Bogalusa City Court Procedures for Appointment of Counsel, Fines and Court
             Costs, and Community Service, and Forms 1-5




                                            10
Case 2:16-cv-11024-ILRL-MBN Document 113-1 Filed 09/01/17 Page 13 of 27
    Case 2:16-cv-11024-ILRL-MBN Document 113-1 Filed 09/01/17 Page 14 of 27




     Bogalusa City Court Procedures for Appointment of
    Counsel, Fines and Court Costs, and Community Service
    1. Appointment of Counsel/Evaluation for Indigency:

        At the beginning of Court, all defendants will be advised of the right to the assistance of
        counsel and to an indigency determination at arraignment. The Court will appoint
        counsel for any indigent defendant charged with an offense punishable by imprisonment,
        unless the Court obtains a valid waiver of counsel. The Court will also evaluate every
        defendant for indigency at or before the time of sentencing.

             a. Waiver of Counsel: Before a defendant may validly waive her right to counsel, a
                defendant must sign the attached waiver of counsel form.1 The Court will make
                the form available at the beginning of arraignment and direct anyone with
                questions to talk to the public defender. If a defendant signs the form, the Court
                will conduct an individualized inquiry on the record to determine whether the
                waiver is made knowingly and intelligently under the circumstances.2

             b. Counsel for direct contempt charges: Indigent defendants facing charges of
                direct contempt will be represented by appointed counsel if counsel has already
                been appointed to represent them in the underlying case. If the direct contempt
                proceedings will occur on the same day as the arraignment on the underlying
                charge(s) and counsel has not yet been appointed, the Court will first determine
                whether the individual is entitled to appointed counsel under this Paragraph and if
                the defendant is so entitled, will appoint the defendant counsel (or obtain a valid
                waiver of counsel) before proceeding with the direct contempt proceedings.

    2. Determination of Indigency:

        The Court will use the attached form3 and any additional verbal testimony that the Court,
        in its discretion, determines is necessary to determine indigency. The Court’s
        determination of indigence or non-indigence —and, in the case of a finding of non-
        indigence, the reasons for this finding—will be made part of the record of the proceeding
        and the form will become part of the defendant’s case file. Any finding of non-indigence
        must be made on the record before the Court may require a defendant to serve time in jail
        for non-payment of a fine, court costs, and fees.

        The Court will follow La. R.S. 15:175 in making a determination of indigence.



1
  Attached as Form 1.
2
  Attached as Form 2.
3
  Attached as Form 3.


                                                 11
      Case 2:16-cv-11024-ILRL-MBN Document 113-1 Filed 09/01/17 Page 15 of 27
Exhibit A

               a. Pursuant to La. R.S. 15:175, a person will be presumed “indigent” for purposes of
                  appointed counsel and the imposition of fines and court costs if she (1) receives
                  public assistance, such as Food Stamps, Temporary Assistance for Needy
                  Families, Medicaid, Disability Insurance; (2) resides in public housing; (3) earns
                  less than 200 percent of the Federal Poverty Guideline; or (4) is currently serving
                  a sentence in a correctional institution or is housed in a mental health facility.

               b. Whether or not a defendant is presumptively indigent pursuant to the provisions
                  of subparagraph(a), the Court may consider other factors, including the following,
                  to determine whether the defendant has the ability to hire her own attorney or pay
                  the amount owed without substantial financial hardship: income or funds from
                  employment or any other source, including public assistance, to which the
                  defendant is entitled, property owned by the defendant or in which she has an
                  economic interest, outstanding obligations, the number and ages of dependents,
                  employment and job training history and efforts to gain employment, and level of
                  education.

      3. Imposition of default time, community service and/or jail time:

           The Court will post in a public location in the courtroom and at the Clerk’s payment
           window, and make available copies at the Clerk’s payment window, a Notice to
           Defendants Regarding Fines, Court Costs, and Community Service4 that reflects these
           agreed-upon procedures.

           If imposing a fine, the Court will determine indigency based on La. R.S. 15:175 and the
           procedures outlined in Paragraph 2. No defendant who is found indigent following an
           indigence determination may be sentenced to a fine and court costs with a default jail
           sentence.

           Nothing in this settlement agreement shall be construed to prevent the imposition of jail time on
           any defendant at initial sentencing if the court determines such sentence is appropriate in order to
           meet the State’s interest in punishment and deterrence. However, a jail sentence may not be
           imposed solely because the person is deemed indigent.

           The imposition of a jail sentence must not be based on an indigent defendant’s inability
           to pay a fine, court costs, or any other amount of money to the Court.

           Those defendants who have been found indigent for purposes of appointed counsel will
           be considered indigent for purposes of sentencing. However, because indigence
           determinations may be reviewed by the Court at any stage of the proceedings, it is within
           the Court’s discretion to review a defendant’s indigence again at a later date.

               a. Payment Options for Indigent Defendants. If the Court finds it appropriate to
                  impose a fine and court costs (a “monetary sentence”) for an indigent defendant,
                  the Court will not impose a default jail sentence.
4
    Attached as Form 4.


                                              Exhibit A – Page 2
      Case 2:16-cv-11024-ILRL-MBN Document 113-1 Filed 09/01/17 Page 16 of 27
Exhibit A



                   Partial payments from indigent (and non-indigent) defendants will be accepted in
                   person via cash or a money order on Wednesdays or Thursdays at the window of
                   the Office of the Clerk of Court. A defendant may also mail a money order or
                   cashier’s check to the Court. Under no circumstances will a person be charged
                   additional court costs or fees, including late fees, for making partial payments.

               b. Payment Options for Non-indigent Defendants. If the Court determines that the
                  defendant is not indigent and further determines that the defendant is unable to
                  pay her fines and court costs in full at sentencing, the defendant will be permitted
                  to make partial payments before the next court date with no minimum amount
                  required, pursuant to the manner outlined in Paragraph 3(a).

                   The Court will further provide written notice included on the summons5
                   consistent with the language required by the Financial Obligations for Criminal
                   Offenders Act No. 260, Art. 895.5 (2017).

               c. Show Cause Hearing. The Court will schedule a Show Cause Hearing for a date
                  no sooner than two months after sentencing for any defendant ordered to pay a
                  fine and court costs. Any defendant who has not paid her fine and court costs in
                  full before this date will be expected to appear in person at the Show Cause
                  Hearing.

                          i. If the defendant appears at the Show Cause Hearing, the Court will inquire
                             as to the reasons for nonpayment, including whether the defendant was
                             unable to pay the amount owed. The public defender will represent an
                             indigent defendant at the Show Cause Hearing unless the Court obtains a
                             valid waiver of counsel.

                             The Judge will proceed as follows:

                                1. For all defendants previously found indigent, the Judge shall
                                   consider (1) waiving or reducing the amount of the fine and costs
                                   owed based on the defendant’s financial situation, good-faith
                                   efforts to make payments to the best of her ability, and any other
                                   factors the Court finds relevant to establish that the defendant has
                                   taken to reform and improve herself; (2) giving the defendant an
                                   extension of time to make any payment(s) owed; or (3) imposing
                                   the community service sentence in lieu of payment with a
                                   proportional decrease in the default time based on any partial
                                   payments made, pursuant to the rate calculation set forth in
                                   Paragraph 3(d).




5
    Attached as Form 5.


                                             Exhibit A – Page 3
  Case 2:16-cv-11024-ILRL-MBN Document 113-1 Filed 09/01/17 Page 17 of 27
Exhibit A

                          2. For those defendants previously assessed default time, the
                             Judge will determine whether they are now indigent. If they are
                             found to be indigent, the Judge shall consider the options in
                             paragraph 3(c)(i)(1) above. If they are found not to be indigent,
                             the Judge may, in addition to the options identified in paragraph
                             3(c)(i)(1) above, activate the default time previously imposed, with
                             a proportional decrease in the default time based on any partial
                             payments made.

                   ii. If the defendant fails to appear at this hearing, the Court will follow the
                       procedures in Paragraph 4 below.

            d. Community Service. If the Judge imposes a fine with a default community service
               sentence or otherwise requires community service in lieu of payment, the Judge
               will order the defendant to perform a specific number of hours of community
               service based on the amount of the fine and costs owed. The amount of
               community service hours that the Court may impose in default of payment will be
               capped at no more than the fine and court costs owed divided by the rate of the
               current federal minimum wage (i.e. $7.25 per hour). Additionally, the Court will
               not sentence a defendant charged with a traffic ticket to complete more than 16
               hours of community service. However, if the defendant has been charged with
               DWI, Reckless Operation, or Excessive Speeding, the Court shall retain the
               discretion to impose more than a default sentence of 16 hours of community
               service.

            e. The Court will not require the defendant to perform more than 16 hours of
               community service per month, though the defendant may perform more per month
               if she desires.

            f. No defendant sentenced to community service shall be charged a fee to sign up
               for, perform, or otherwise execute his or her sentence of community service.

            g. The Judge will give the defendant an appropriate community service placement
               based on the Court’s consideration of the defendant’s physical and mental
               disabilities, transportation, work schedule, and childcare or caregiving
               responsibilities. The Judge will ask every defendant at least the following two
               questions before imposing a community service sentence and may, in his
               discretion, ask any additional questions to determine an appropriate community
               service placement: (1) Do you have a physical disability that would prevent you
               from picking up litter? (2) Are you able to perform community service on
               Saturday mornings?

            h. Failure to Perform Community Service. If a defendant completes at least 16
               hours of community service per month, she will not be subject to contempt for
               failure to complete the remaining hours of her community service sentence. If a
               defendant fails to complete at least 16 hours of community service per month, the


                                       Exhibit A – Page 4
    Case 2:16-cv-11024-ILRL-MBN Document 113-1 Filed 09/01/17 Page 18 of 27
Exhibit A

                  Court may extend the time for completing community service or hold a properly
                  noticed Show Cause Hearing.

                       i. If the defendant appears at the Show Cause Hearing, the Court will inquire
                          as to the reasons for noncompliance, including whether the defendant was
                          unable to complete the community service. The public defender will
                          represent all indigent defendants at the hearing unless the Judge obtains a
                          valid waiver of counsel. If after inquiry, the Judge determines there is:

                                1. An inability to perform community service, the Judge may (1)
                                   reduce, modify, or remit the order to perform community service,
                                   including modifying the community service placement; (2) if the
                                   person will have the ability to perform community service going
                                   forward, extend the time to perform community service; or (3) give
                                   the defendant the option of paying the remaining balance of the
                                   original fine and costs in lieu of performing the remaining
                                   community service.

                                2. An ability to perform community service, the Judge may consider
                                   the options listed in the previous paragraph, and may also find the
                                   defendant in contempt and impose punishment in accordance with
                                   La. C.Cr.P. art 25. After defendant completes this contempt
                                   sentence, the Court will close the case and consider the sentence
                                   satisfied in full.

                      ii. If the defendant fails to appear at this hearing, the Court will follow the
                          procedures in Section 4 below.

    4. Failure to Appear – Direct Contempt Charge

         An attachment shall issue for a defendant who fails to appear at arraignment or any
         hearing date for which she has been properly noticed to appear.

         The Court will send notice in accordance with law.

         If the defendant is arrested on the attachment, the defendant may post bond if available
         under the Court’s bail procedures. If the defendant fails to appear on the new hearing
         date, a new attachment will issue on the underlying charge.

         The defendant will be held in direct contempt if the Court finds, after an opportunity for
         the defendant to be heard orally, that the failure to appear was contumacious6 and that

6
  At a minimum, this requires a finding that the failure to appear was willful and openly defiant of the Court’s order,
instead of inadvertent or due to the defendant’s inability to appear. See State v. Taylor, 451 So. 2d 691, 692 (La. Ct.
App. 1984) (“In Black's Law Dictionary, 298 (rev. 5th ed. 1979), ‘contumacious’ conduct is defined as ‘wilfully
stubborn and disobedient conduct.’ Burton's Legal Thesaurus, (1980), suggests that ‘contumacious’ means
stubbornly disobedient, stubbornly rebellious, openly defiant, or willfully disrespectful.”).


                                               Exhibit A – Page 5
  Case 2:16-cv-11024-ILRL-MBN Document 113-1 Filed 09/01/17 Page 19 of 27
Exhibit A

      proof of service appears in the record, in accordance with La. C.Cr.P. art. 21. A
      defendant found in contempt will be sentenced for the direct contempt in accordance with
      La. C.Cr.P. art 25.

      If a defendant guilty of direct contempt is sentenced to a fine, with or without default
      time, the Court will follow the procedures in Section 3, above, to determine whether or
      not the imposition of default jail time and/or the jailing of a defendant for non-payment is
      appropriate.

   5. Collection of 1899 Court Costs and Contempt fines

      The Court will not assess or collect any court costs or any portion of contempt fees that
      will be deposited into an account controlled directly by the City Court. The City Court
      agrees to have all costs collected pursuant to La. R.S. 13:1899, the portion of the
      contempt fines, and all other fees or costs previously retained by the City Court of
      Bogalusa deposited into a special account maintained by the City of Bogalusa, which
      shall have control over the account and any disbursements made therefrom to defray the
      operating costs of the City Court. The Bogalusa City Court Judge will submit a yearly
      budget request (or amended budget requests, as needed) to the City of Bogalusa to fund
      the operations of the City Court and that accounts for any expenses the City is required to
      pay for under state law. The Judge’s budget request (and any requests for an amended
      budget) shall be approved by the Mayor of Bogalusa and the Bogalusa City Council in
      accordance with the City of Bogalusa City Charter. The City of Bogalusa, in its
      discretion, may allocate any funds in the special account to the City Court in whole or in
      part as part of any budget allocation to the City Court to off-set the costs of funding the
      operations of the Court.

   6. Extension Fees

      The Court will discontinue the use of extension fees, late fees, community service fees, or
      any other fees unless that fee is explicitly authorized by state law. The Court will revise
      its Summons to remove wording related to extension fees, late fees, community service
      fees, or any other fee not explicitly authorized by state law.




                                      Exhibit A – Page 6
  Case 2:16-cv-11024-ILRL-MBN Document 113-1 Filed 09/01/17 Page 20 of 27
Exhibit A - Form 1


                        BOGALUSA CITY COURT
                     WAIVER OF RIGHT TO COUNSEL

You are charged with a misdemeanor or a traffic offense and may be sentenced to
serve time in jail. You have the right to remain silent and to be presumed innocent
until the prosecutor proves his case beyond a reasonable doubt. You also have the
right to a trial before a judge. If you go to trial, you have the right to call and
cross-examine witnesses and to testify or remain silent. You also have the right to
be represented by an attorney at every stage of your case.

You may hire an attorney to represent you. If you would like the assistance of an
attorney but if I find that you cannot afford one, I will appoint the public defender
to represent you.

If you wish, you may waive your right to the assistance of an attorney. If you
waive this right, you will represent yourself and must follow all rules and laws that
an attorney would be expected to follow in this case.

If you waive this right to the assistance of an attorney, you can later decide at any
stage of this case to withdraw this waiver. You have to tell me you are going to do
this, and once I approve this decision, you can then hire your own attorney or have
me decide if you are indigent and the public defender will be appointed to
represent you.

 ________________________              ________________________
Signature                                   Date
  Case 2:16-cv-11024-ILRL-MBN Document 113-1 Filed 09/01/17 Page 21 of 27
Exhibit A - Form 2


                             INDIVIDUAL INQUIRY

You are charged with ___________ and may be punished with up to six (6)
months in jail. As a result, you have the right to be represented by an attorney at
every stage of your case.

    1. Did you sign a waiver of your right to counsel?

    2. Do you understand that you have a right to an attorney at each stage of this
       case and that the Court will appoint an attorney to represent you if you
       cannot afford one?

    3. Do      you   still   wish    to   waive     your    right   to    counsel?
   Case 2:16-cv-11024-ILRL-MBN Document 113-1 Filed 09/01/17 Page 22 of 27
Exhibit A - Form 3

                                  BOGALUSA CITY COURT
                        INDIGENCE DETERMINATION ASSISTANCE FORM
NAME:                                           DOB:

ADDRESS:

PHONE NUMBERS:



HOUSEHOLD INFORMATION:

How many people live with you (including yourself)? _________
Who are they? (Provide name, relationship & age)_____________________________________
______________________________________________________________________________

MONTHLY INCOME FOR THE HOUSEHOLD:

On average, how much do you make each month after taxes? This includes funds from
employment and any other source, including social security and public assistance:
__________________________________

Check any of the following forms of public assistance you receive:
□ Food Stamps/EBT                   □SSI/Disability
□ WIC                               □Medicaid
□TANF                               □ Housing Assistance (public housing or Section 8)

For those individuals over the age of eighteen (18) who live with you, on average, how much
does each of those individuals make each month after taxes? This includes funds from
employment and any other source, including social security and public assistance:
______________________________________________________________________________

EMPLOYMENT:

Do you work?                   □ Yes                □ No
If YES, where? ___________________ How long have you worked there?_________________
If NO, when was your last date of employment? _____________
       Reason(s) for unemployment:________________________________________________
       Last three (3) places application for employment was submitted and date of
application(s): ________________________________________________________________

SHELTER:

What is your living situation? □ Homeless     □ Live w/ Family/Friends     □ Own
                              □ Rent: Private □ Rent: Public               □ Rent: Section 8
                              □ Incarcerated □ Mental Health Facility




                                              1
   Case 2:16-cv-11024-ILRL-MBN Document 113-1 Filed 09/01/17 Page 23 of 27
Exhibit A - Form 3


OTHER ASSETS:

Are you an owner of any immovable property          □ Yes                 □ No

If YES, estimated value of the property: _________________________ and
       Percent ownership in this property: _________________________________________
Do you have an interest in any other property, including but not limited to pending lawsuits,
successions, valuable jewelry, iPhones, computers or motor vehicles?    □ Yes
       □ No

If YES, list each piece of property, what percent owner are you in the property and the estimated
value of the property:___________________________________________________________

OUTSTANDING OBLIGATIONS:

Do you have any outstanding obligations, including but not limited to child support payments,
medical expenses, mortgage, other legal financial obligations, etc.? □ Yes     □ No

If YES, please list each monthly expense, amount, and total expenses:_____________________
______________________________________________________________________________

EDUCATION AND JOB TRAINING:

What is your highest level of education achieved?_____________________________________
Do you currently possess, or have you ever possessed any employment certifications or licenses?
□ Yes                 □ No

If YES, please list all certifications you CURRENTLY possess. ______________
       Please list all certifications which you have possessed in the past which are no longer
       valid or active and the reason(s) these certifications were not maintained:
       _______________________________

I hereby submit under penalty of perjury that all answers given are true and correct. I
authorize the Bogalusa City Court to do any and all things reasonably necessary to verify my
indigent status.

______________________________________________________________________________
Signature                                                   Date




                                               2
      Case 2:16-cv-11024-ILRL-MBN Document 113-1 Filed 09/01/17 Page 24 of 27
    Exhibit A - Form 3


                                         FOR THE COURT:
□     The Court determines the defendant to be indigent.
      For appointment of counsel only:
          □     The Court appoints the public defender to represent the defendant.
          □     The defendant knowingly and intelligently waived his right to counsel.
□     The Court determines the defendant to be not indigent.

      Judge ___________________________________________ Date __________________________




                                                  3
     Case 2:16-cv-11024-ILRL-MBN Document 113-1 Filed 09/01/17 Page 25 of 27
Exhibit A - Form 4


         NOTICE REGARDING FINES AND COMMUNITY SERVICE

                                     Fines and Court Costs

1. How much time will I have to pay if the Court sentences me to fines and court costs?

The Court will give you at least two months to pay if you cannot pay your fine and court costs
immediately. The Court will give you a Summons with a time and date that you must return for
a Show Cause Hearing. Your appearance at this hearing and any subsequent hearings is
mandatory, unless you have already paid all the money you owe. If you fail to appear at your
hearing, a warrant may be issued for your arrest and you may be subject to contempt charges.

2. Should I come to court if I don’t have the money to pay my fine and court costs?

You should come to the Show Cause Hearing even if you cannot pay all your fines and court
costs. A warrant will generally be issued for your arrest if you miss a court date.

3. Will I go to jail if I cannot pay my fine and court costs?

You cannot be put in jail solely for your inability to pay your fines and court costs. You can be
put in jail only if you had the ability to pay but intentionally did not pay.

4. What will happen at my “Show Cause” hearing?

At your “Show Cause” hearing, the Court will ask you if you paid your fines and court costs.

If you are indigent—meaning that you are unable to pay your fine and court costs—the Court
may (1) waive or reduce the amount of the fine and costs owed; (2) give you an extension of
time to pay; or (3) order you to complete community service in lieu of payment.

If the Court finds that you are not indigent—meaning that the Court finds that you are able to pay
but willfully failed to pay—the Court may impose a jail sentence for non-payment.

5.   Can I get an extension of time to pay?

You may ask for more time to pay your fines and costs at your Show Cause Hearing. The Court
may ask you whether you are working or have other sources of income as well as about your
expenses (i.e. rent, childcare, utilities, food, clothing, medical condition/bills, transportation,
etc.). The Court may also ask about your efforts to obtain the money to pay, including your job
skills and whether you have applied for jobs. You should be prepared to explain at your Show
Cause Hearing any financial hardship you are experiencing in paying your fines and costs.

6. Does the Court accept partial payments?

Yes, the Court will accept partial payments before your Show Cause Hearing. Partial payments
will only be accepted on Wednesday and Thursdays at the Clerk’s Office.


                                                1
   Case 2:16-cv-11024-ILRL-MBN Document 113-1 Filed 09/01/17 Page 26 of 27
Exhibit A - Form 4


                                    Community Service

1. How many hours of community service do I have to perform?

The Court will tell you how many hours you must complete The Court will sentence you to
complete no more hours than what it would take to pay off your fine at a minimum wage-rate of
$7.25 per hour. If you have a traffic ticket (except driving under the influence, excessive
speeding, or reckless operation), the Court will not require you to perform more than 16 hours of
community service.

2. How much time will I be given to complete community service?

The Court will give you a reasonable amount of time to complete your community service. The
Court will expect you to perform at least 16 hours per month.

You will be given a Summons with a time and date for a hearing to show proof of completion of
community service. Your appearance at this hearing is mandatory, unless you have shown the
clerk proof that you have completed your community service and the clerk has confirmed that
you do not have to appear in court. If you fail to appear at the hearing, a warrant may be issued
for your arrest and you may be subject to contempt charges.

At that court date, the Court will ask you for proof, signed by a supervisor, showing how many
community service hours you performed. Before coming to court, you should have your
supervisor write and sign a letter or fill out or complete a form documenting how many
community service hours you performed.

3. Where can I complete my community service hours?

The Court will tell you where you must complete your community service at your court date.
Please let the Court know at your hearing if you have a physical or mental disability or a work or
any other conflict that will make it difficult for you to complete the community service.

4. Can I go to jail if I failed to complete community service?

You can go to jail if you intentionally failed to complete your hours of community service.
You will not be sentenced to jail if you complete a minimum of 16 hours of community service
per month.

You must come to the hearing even if you did not complete all your community service hours. If
you failed to complete community service, the Court will ask you to explain why. You should
tell the Court if you have a disability or other reasons why you cannot complete your hours. You
may also ask for more time to finish the community service.

5. Will the Court charge me any fees to perform community service?

No, the Court will not charge you any fees to perform community service.


                                                2
   Case 2:16-cv-11024-ILRL-MBN Document 113-1 Filed 09/01/17 Page 27 of 27
Exhibit A - Form 5


                                  SUMMONS
CITY OF BOGALUSA versus __________________________ No. ____________________
TO: ____________________________________residing at ____________________________:

You are hereby summoned to appear before the City Court of Bogalusa, Louisiana, held at the
City Hall on _________________________ at 10:00AM, for a Show Cause Hearing if you
have not paid or performed:
□ Restitution             □ Drug Screen          □ SACAY                 □ DIP
□ Counseling              □ $75 Probation Fee    □ $40 Public Defender Fee
□ Proof of Completion of ________ Hours of Community Service at _______________
□ Fines and Costs in the Amount of $________
□ Other _________________________ (Explain)

IMPORTANT NOTICE REGARDING THE HEARING ON THE RULE TO SHOW CAUSE FOR
           PROOF OF SATISFACTION OF FINANCIAL OBLIGATION:

(a) Payment of a fine and costs may be made prior to your rule to show cause hearing date in partial or
    installment payments.

(b) At the rule to show cause hearing, the court will evaluate your ability to pay the fines and fees listed
    above.

(c) You are ordered to bring any documentation or information that you want the court to consider in
    determining your ability to pay.

(d) Your failure to make a payment toward the ordered financial obligation may result in your
    incarceration only if the court finds, after a hearing, that you had the ability to pay and willfully
    refused to do so.

(e) You have the right to be represented by counsel of your choice. If you cannot afford counsel, you
    have the right to be represented by a court-appointed lawyer at no cost to you.

(f) If you are unable to make a payment toward the ordered financial obligation, you may request
    payment alternatives including but not limited to community service, a reduction of the amount owed,
    or both.

(g) During the hearing, you will have a meaningful opportunity to explain why you have not paid the
above-listed amounts by presenting evidence and testimony.

HEREIN FAIL NOT UNDER PENALTY OF THE LAW.
Given under my hand officially in Bogalusa, Louisiana, this
       _______________________
       Clerk, City Court of Bogalusa

Received this summons, together with a certified copy, on the _____ day of _______________
20____, and served same on the _____ day of _______________ 20____, by handing to
___________________________________at______________________________, and make
this my return on the _____ day of _______________ 20___.
